      Case 2:20-cv-00083-BSM-JTK Document 31 Filed 02/09/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  DELTA DIVISION

GABRIEL GONZALEZ                                                                  PETITIONER
Reg. #30515-112

V.                              CASE NO. 2:20-CV-00083-BSM-JTK

DEWAYNE HENDRIX,
Warden, Forrest City FCI                                                         RESPONDENT

                                            ORDER

       Before the Court is Petitioner Gabriel Gonzalez’s Motion to Supplement his Reply to

Respondent’s objections. Doc. 30. Gonzalez seeks to include emails and grievances he sent to

prison staff regarding the correction of his medical records. The Court grants Gonzalez’s motion

(Doc. 30). However, the Court notes Gonzalez has already supplemented his Reply to

Respondent’s objections twice. (Docs. 24 & 28). In its order seeking supplement briefing from

Respondent, the Court stated it would give Gonzalez one opportunity to reply after that briefing is

filed. Doc. 29 at 3. Gonzalez should refrain from filing any more supplements until Respondent’s

briefing is filed, at which point he can submit any remaining documentation or briefing as a single

response.

       IT IS SO ORDERED this 9th day of February, 2021.




                                                     ____________________________________
                                                     JEROME T. KEARNEY
                                                     UNITED STATES MAGISTRATE JUDGE
